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       David Vanchoff, Andrew Cross, and Firearms Policy Coalition, Inc. (“FPC”), by and

through counsel of record, bring this complaint against Defendants, New York officials

responsible for enforcing a state law infringing the right of law-abiding citizens to keep and bear

commonly possessed firearms for defense of self and family and for other lawful purposes, and

allege as follows:

                                       INTRODUCTION

       1.      The Second Amendment to the United States Constitution guarantees “the right of

the people to keep and bear Arms.” U.S. CONST. amend. II. Under this constitutional provision,

Plaintiffs Vanchoff, Cross and other law-abiding, responsible New Yorkers, have a fundamental,

constitutionally guaranteed right to keep common firearms for defense of self and family and for

other lawful pursuits.

       2.      But Defendants have enacted and enforced a flat prohibition on the possession,

manufacture, transport, or disposal of many common semiautomatic firearms—tendentiously

labeled “assault weapons”—by ordinary citizens, making it criminal for law-abiding citizens to

exercise their fundamental right to keep and bear such arms. See N.Y. PENAL LAW §§ 265.00(22),

265.02(7), 265.10.

       3.      Defendants’ enforcement of New York’s ban denies individuals who reside in New

York, including individual Plaintiffs and members of FPC, their fundamental, individual right to

keep and bear common arms.

       4.      The Second Circuit has previously upheld the laws at issue against a Second

Amendment challenge. See New York State Rifle and Pistol Ass’n, Inc. v. Cuomo, 804 F.3d 242,

243 (2d. Cir. 2015) The recent Supreme Court case New York State Rifle and Pistol Association v.

Bruen, however, abrogated that decision and no governing caselaw forecloses Plaintiffs’ claims.


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597 U.S. ---, 2022 WL 2251305 (June 23, 2022).

                                  JURISDICTION & VENUE

        5.     This Court has subject-matter jurisdiction over all claims for relief pursuant to

28 U.S.C. §§ 1331 and 1343.

        6.     Plaintiffs seek remedies under 28 U.S.C. §§ 1651, 2201, and 2202 and 42 U.S.C.

§§ 1983 and 1988.

        7.     Venue lies in this Court under 28 U.S.C. § 1391(b)(1) and (b)(2).

                                            PARTIES

        8.     Plaintiff David Vanchoff is a natural person, a resident of Nassau County, New

York, an adult over the age of 21, a citizen of the United States, and legally eligible under federal

and state law to possess and acquire firearms. Vanchoff is a member of Plaintiff FPC.

        9.     Plaintiff Andrew Cross is a natural person, a resident of Suffolk County, New York,

an adult over the age of 21, a citizen of the United States, and legally eligible under federal and

state law to possess and acquire firearms. Cross is a member of Plaintiff FPC.

        10.    Plaintiff FPC is a nonprofit organization incorporated under the laws of Delaware

with its principal place of business in Sacramento, California. The purposes of FPC include

defending and promoting the People’s rights, especially, but not limited to, the fundamental,

individual Second Amendment right to keep and bear arms, advancing individual liberty, and

restoring freedom. FPC serves its members and the public through legislative advocacy, grassroots

advocacy, litigation and legal efforts, research, education, outreach, and other programs. FPC

brings this action on behalf its members, including the named Plaintiffs herein, who seek to

exercise their right to keep and bear common semiautomatic arms for lawful purposes in New

York.




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       11.     Defendant Letitia James is the Attorney General of New York. As Attorney

General, she exercises, delegates, or supervises all the powers and duties of the New York

Department of Law, which is responsible for executing and enforcing New York’s laws and

regulations governing the possession of firearms and magazines. Her official address is Office of

the Attorney General, The Capitol, Albany NY 12224-0341. She is being sued in her official

capacity.

       12.     Defendant Kevin P. Bruen is the Superintendent of the New York State Police. As

Superintendent, subject to the oversight and supervision of the Governor, he exercises, delegates,

or supervises all the powers and duties of the New York Division of State Police, including

executing and enforcing New York’s laws and regulations governing the possession of firearms

and magazines. His official address is New York State Police Office of the Superintendent, Bldg.

22, 2220 Washington Ave, Albany, NY 12226. He is being sued in his official capacity.

       13.     Defendant Anne T. Donnelly is the District Attorney for Nassau County. As District

Attorney, Donnelly “is the prosecutorial officer with the responsibility to conduct all prosecutions

for crimes and offenses cognizable by the courts of the county in which [she] serves.” People v.

Di Falco, 44 N.Y.2d 482, 487, 377 N.E.2d 732, 735 (1978). Her official address is Nassau County

District Attorney, 262 Old Country Road, Mineola, NY 11501. She is being sued in her official

capacity.

       14.     Defendant Raymond A. Tierney is the District Attorney for Suffolk County. As

District Attorney, Tierney “is the prosecutorial officer with the responsibility to conduct all

prosecutions for crimes and offenses cognizable by the courts of the county in which he serves.”

People v. Di Falco, 44 N.Y.2d 482, 487, 377 N.E.2d 732, 735 (1978). His official address is

Suffolk County District Attorney’s Office, William J. Lindsay County Complex-Bld. 77, Veterans




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Memorial Highway, Hauppauge, NY 11788. He is being sued in his official capacity.

                                       FACTUAL ALLEGATIONS

I.          NEW YORK’S UNCONSTITUTIONAL SEMIAUTOMATIC FIREARM BAN

            15.     New York tendentiously applies the inaccurate label of “assault weapon” 1 to many

semiautomatic2 firearms in common use and criminalizes their possession. N.Y. PENAL LAW

§§ 265.00, et seq.

            16.     Specifically,      New       York       defines     “assault     weapon”           as:

(a) a semiautomatic rifle that has an ability to accept a detachable magazine and has at least one of

the following characteristics:

              (i)   a folding or telescoping stock;

             (ii)   a pistol grip that protrudes conspicuously beneath the action of the weapon;

            (iii)   a thumbhole stock;

            (iv)    a second handgrip or a protruding grip that can be held by the non-trigger hand;

             (v)    a bayonet mount;

            (vi)    a flash suppressor, muzzle break, muzzle compensator, or threaded barrel designed

                    to accommodate a flash suppressor, muzzle break, or muzzle compensator;

            (vii)   a grenade launcher; or

(b) a semi-automatic shotgun that has at least one of the following characteristics:

              (i)   a folding or telescoping stock;


     1
         N.Y. PENAL LAW § 265.00(22).
     2
    “Semiautomatic” means “means any repeating rifle, shotgun or pistol, regardless of barrel or
overall length, which utilizes a portion of the energy of a firing cartridge or shell to extract the
fired cartridge case or spent shell and chamber the next round, and which requires a separate pull
of the trigger to fire each cartridge or shell.” N.Y. PENAL LAW § 265.00(21). See also Staples v.
United States, 511 U.S. at 602 n.1.



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        (ii)   a thumbhole stock;

       (iii)   a second handgrip or a protruding grip that can be held by the non-trigger hand;

       (iv)    a fixed magazine capacity in excess of seven rounds;

        (v)    an ability to accept a detachable magazine; or

(c) a semi-automatic pistol that has an ability to accept a detachable magazine and has at least one

of the following characteristics:

         (i)   a folding or telescoping stock;

        (ii)   a thumbhole stock;

       (iii)   a second handgrip or a protruding grip that can be held by the non-trigger hand;

       (iv)    capacity to accept an ammunition magazine that attaches to the pistol outside of the

               pistol grip;

        (v)    a threaded barrel capable of accepting a barrel extender, flash suppressor, forward

               handgrip, or silencer;

       (vi)    a shroud that is attached to, or partially or completely encircles, the barrel and that

               permits the shooter to hold the firearm with the non-trigger hand without being

               burned;

       (vii)   a manufactured weight of fifty ounces or more when the pistol is unloaded, or;

      (viii)   a semi-automatic version of an automatic rifle, shotgun, or firearm;

(d) a revolving cylinder shotgun;

(e) a semiautomatic rifle, a semiautomatic shotgun or a semiautomatic pistol or weapon defined

by [New York Penal Law § 265.00(22)(e)(v) as that section read under] the laws of [2000 and

otherwise lawfully possessed] prior to September [14, 1994]; or

(f) a semiautomatic rifle, a semiautomatic shotgun or a semiautomatic pistol or weapon defined




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[above] in [sub]paragraph (a), (b), or (c) [and] possessed prior to [January 15, 2013].

N.Y. PENAL LAW § 265.00(22)(a)-(f).

       17.     New York categorically prohibits possession of all such firearms. See New York

State Rifle and Pistol Ass’n, Inc. v. Cuomo, 804 F.3d 242 (2015).

       18.     Violations of New York’s Semiautomatic Firearm Ban is a Class D felony

punishable by up to seven years in prison and a fine between $2000 and $10,000. N.Y. PENAL LAW

§§ 265.02(7), 265.10, 70.02.

II.    NEW YORK BANS RIFLES IN COMMON USE

       19.     Semiautomatic firearms “traditionally have been widely accepted as lawful

possessions,” see Staples v. United States, 511 U.S. 600, 612 (1994) (so categorizing an AR-15

semiautomatic rifle), and the Second Circuit has previously held that ”[e]ven accepting the most

conservative estimates” firearms banned by New York law “are ‘in common use’ as that term was

used in Heller.” Cuomo, 804 F.3d at 255.

       20.     Rifles built on an AR-style platform are a paradigmatic example of the type of arm

New York bans. AR-15 rifles are among the most popular firearms in the nation, and they are

owned by millions of Americans. A recent survey of gun owners indicates that about 24.6 million

Americans have owned up to 44 million AR-15 or similar rifles. See William English, 2021

National Firearms Survey: Updated Analysis Including Types of Firearms Owned at 1 (May 13,

2022), https://bit.ly/3yPfoHw. And according to industry sources, more than one out of every five

firearms sold in recent years were rifles of the type banned by New York. Nat’l Shooting Sports

Found., Inc., Firearms Retailer Survey Report, 2013 at 11.

       21.     The banned semiautomatic firearms, like all other semiautomatic firearms, fire only

one round for each pull of the trigger. They are not machine guns. See Staples, 511 U.S. at 602

n.1. What is more, the designation “assault weapons” is a complete misnomer, “developed by anti-


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gun publicists” in their crusade against lawful firearm ownership. See Stenberg v. Carhart, 530

U.S. 914, 1001 n.16 (2000) (Thomas, J., dissenting).

       22.     A comparison to firearms used by the military demonstrates just how disingenuous

the “assault weapon” moniker is. While an AR-15 can only fire as often as a person can pull its

trigger, an M249 light machine gun, commonly used by the U.S. military, can fire between 750

and 1,000 rounds per minute, Squad Automatic Weapon (SAW), M249 Light Machine Gun,

MILITARY ANALYSIS NETWORK, https://bit.ly/3tsQGtd, and “heavy” machine guns like the M61

series can fire significantly larger caliber ammunition (20mm) much faster yet (6,000 rounds per

minute),     M61A1/M61A2      20mm     Automatic     Gun,    MILITARY     ANALYSIS     NETWORK,

https://bit.ly/3ttnemV.

       23.     Unlike these “weapons of war,” central among the common uses of firearms banned

in New York is defense of self in the home. For example, most AR-style firearms are chambered

for 5.56x45mm NATO (similar to .223 Remington) ammunition, a relatively inexpensive and very

common cartridge that is particularly well suited for home-defense purposes because it has

sufficient stopping power in the event a home intruder is encountered but loses velocity relatively

quickly after passing through a target and other objects, thus decreasing the chance that an errant

shot will strike an unintended target. Although most pistol rounds have less muzzle velocity than

a 5.56x45mm NATO round, they have greater mass, maintain velocity after passing through walls

and other objects, and pose substantially greater risk to unintended targets in the home. An AR-15

rifle chambered for 5.56x45mm NATO ammunition is an optimal firearm to rely on in a self-

defense encounter.

       24.     Like the AR-15 generally, the specific features banned by the statute aid home

defense. A flash suppressor, for example, not only reduces the chances that a home-invader will




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mark his victim’s position; it also protects a homeowner against momentary blindness when firing

in self-defense. David B. Kopel, Rational Basis Analysis of “Assault Weapon” Prohibition, 20 J.

Contemp. L. 381, 397 (1994). Similarly, folding and telescoping stocks increase maneuverability

in tight home quarters, id. at 398–99, as well as enabling safe storage of defense instruments in

accessible spaces. A telescoping stock also allows a firearm to be better fitted to an individual

shooter, thereby enhancing the ability of an individual to use the firearm safely and effectively.

       25.     Folding and telescoping stocks also increase the likelihood of successful home

defense by permitting safe storage of defense instruments in accessible spaces and making the rifle

maneuverable in confined spaces. Id. at 398–99

       26.     Pistol grips improve accuracy and reduce the risk of stray shots by stabilizing the

firearm while firing from the shoulder. Id. at 396.

       27.     Most all common semiautomatic firearms, including those banned under New York

law, can accept a detachable magazine. Detachable magazines not only assist law-abiding shooters

to reload their weapon in stressful defense circumstances, but in the case of some platforms,

including the AR-15, they are required to safely and quickly remedy malfunctions.

       28.     Encounters with criminal intruders in the home are not uncommon. For instance,

according to a report by the U.S. Department of Justice, Bureau of Justice Statistics, household

members are present for almost a third of all burglaries and become victims of violent crimes in

more than a quarter of those cases. Studies on the frequency of defensive gun uses in the United

States have determined that there are up to 2.5 million instances each year in which civilians use

firearms to defend themselves or their property. Gary Kleck, Marc Gertz, Armed Resistance to

Crime: The Prevalence and Nature of Self-Defense with a Gun, 86 J. of Crim. L. & Criminology

150, 164 (1995); see also English, National Firearms Survey, supra at 9 (finding 31.1% of firearms




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owners, or approximately 25.3 million adult Americans, have used a firearm in self-defense and

there are 1.67 defensive firearm uses a year).

       29.     Other common, lawful uses of the banned firearms are hunting and sport. At least

a third of all gun-owners own a firearm for hunting or sport shooting, and recreational target

shooting has been cited as the top reason, albeit closely followed by home defense, for owning

semiautomatic rifles like those banned by New York.

       30.     Here again, the banned features of firearms mischaracterized as assault weapons

serve lawful purposes. Folding and telescoping stocks, for example, allow for safe transportation,

including in a hiking pack, an ATV, or a boat. These stocks also ease carrying over long distances

while hunting. Both telescoping stocks and protruding grips open hunting and sport-shooting to

those for whom recoil represents a high barrier to entry. Detachable magazines have the same

benefits in hunting and sport-shooting as they do in home defense—improved reloading and

remedying of malfunctions. And flash suppressors promote accuracy in target-shooting and

hunting (especially at dawn).

       31.     By contrast, one use that is not common for so-called “assault weapons” is crime.

According to a widely cited 2004 study, these arms “are used in a small fraction of gun crimes.”

This has long been true. See Gary Kleck, Targeting Guns: Firearms and Their Control 112 (1997)

(evidence indicates that “well under 1% [of crime guns] are ‘assault rifles.’”). Indeed, according

to FBI statistics in 2019 there were only 364 homicides known to be committed with rifles of any

type, compared to 6,368 with handguns, 1,476 with knives or other cutting instruments, 600 with

personal weapons (hands, feet, etc.) and 397 with blunt objects. See Expanded Homicide Table 8,

Crime in the United States (FBI 2019), https://bit.ly/3HdolNd.




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       32.        The arms banned as “assault weapons” under New York’s Semiautomatic Firearm

Ban are not both dangerous and unusual.

       33.        The arms banned as “assault weapons” under New York’s Semiautomatic Firearm

Ban are common in all respects: 1) They are common categorically, as they are all functionally

semiautomatic in their operation; 2) they are common characteristically, as they are all popular

configurations of arms (e.g., rifles, shotguns, handguns) with varying barrel lengths and common

characteristics like pistol grips and the like; and 3) they are common jurisdictionally, lawful to

possess and use in the vast majority of states now and throughout relevant history for a wide variety

of lawful purposes including self-defense, proficiency training, competition, recreation, hunting,

and collecting.

       34.        There is no constitutionally relevant difference between a semi-automatic handgun,

shotgun, and rifle. While some exterior physical attributes may differ—wood vs. metal stocks and

furniture, the number and/or location of grips, having a bare muzzle vs. having muzzle devices,

different barrel lengths, etc.—they are, in all relevant respects, the same.

       35.        Indeed, they are all common firearms that insert cartridges into a firing chamber,

burn powder to expel projectiles through barrels, and are functionally semiautomatic in nature.

They are all common firearms that have the same cyclical rate of fire: one round fired per pull of

the trigger pull until ammunition is exhausted or the firearm or feeding device malfunctions. They

are all common under the same jurisdictional analysis. And they are all subject to the same

constitutionally relevant history under which New York’s Semiautomatic Firearm Ban is clearly

and categorically unconstitutional.

       36.        The statute’s ban on acquiring, purchasing, receiving, transporting, possessing, and

lawfully using an “assault weapon” is, therefore, a ban on keeping and bearing semiautomatic




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firearms that are commonly possessed and used for lawful purposes, including self-defense in the

home.

III.    THE EFFECT ON PLAINTIFFS

        37.    Plaintiff David Vanchoff lives in Nassau County, New York. Vanchoff intends and

desires to exercise his right to keep and bear a so-called assault weapon, particularly an AR-15

style rifle, for lawful purposes, especially home defense and target shooting. AR-15 style rifles are

illegal under New York’s Ban. Vanchoff would acquire, purchase or receive, and lawfully use this

firearm, were it not for Defendants’ enforcement of New York’s Ban. In light of Defendants’

actions, including the threat of arrest, confiscation, prosecution, fine, and imprisonment, Vanchoff

continues to refrain from acquiring, possessing, and lawfully using an AR-15 rifle or any similar

firearm, for self-defense and other lawful purposes.

        38.    Plaintiff Andrew Cross lives in Suffolk County, New York. Cross intends and

desires to exercise his right to keep and bear a so-called assault weapon, particularly an AR-15

style rifle, for lawful purposes, especially home defense and target shooting. AR-15 style rifles are

illegal under New York’s Ban. Cross would acquire, purchase or receive, and lawfully use this

firearm, were it not for Defendants’ enforcement of New York’s Ban. In light of Defendants’

actions, including the threat of arrest, confiscation, prosecution, fine, and imprisonment, Cross

continues to refrain from acquiring, possessing, and lawfully using an AR-15 rifle or any similar

firearm, for self-defense and other lawful purposes.

        39.    Members of Plaintiff FPC intend and desire to acquire, purchase, receive, transport,

possess, or lawfully use semiautomatic rifles banned by the challenged provisions, and are subject

to and adversely affected by the restrictions articulated in this complaint on “assault weapons.”

        40.    But for the enactment and enforcement of the New York’s semiautomatic weapons

ban, these members would forthwith obtain and possess such rifles, but cannot do so because they


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are considered “assault weapons.”

        41.     But for Defendants’ enactment and enforcement of an unconstitutional ban, and

Defendants’ enforcement thereof, and the criminal penalties associated with violations of the ban,

members of Plaintiff FPC, including Plaintiffs Vanchoff and Cross, would exercise their right to

keep and bear the banned firearms for lawful purposes, including self-defense, without the fear or

risk of arrest and prosecution for engaging in constitutionally protected, lawful conduct.

IV.     DEFENDANTS’ LAWS AND REGULATIONS VIOLATE THE SECOND
        AMENDMENT.

        42.     The Second Amendment to the United States Constitution provides: “A well-

regulated Militia being necessary to the security of a free State, the right of the people to keep and

bear Arms shall not be infringed.”

        43.     The Fourteenth Amendment to the United States Constitution provides: “No state

shall make or enforce any law which shall abridge the privileges or immunities of citizens of the

United States; nor shall any state deprive any person of life, liberty, or property, without due process

of law; nor deny to any person within its jurisdiction the equal protection of the laws.”

       44.     The Second Amendment is fully applicable to the States through the Fourteenth

Amendment. McDonald v. City of Chicago, 561 U.S. 742, 750 (2010); id. at 805 (Thomas, J.,

concurring).

       45.     “The very enumeration of the right [to keep and bear arms] takes out of the hands

of government—even the Third Branch of Government—the power to decide on a case-by-case

basis whether the right is really worth insisting upon.” District of Columbia v. Heller, 554 U.S.

570, 634 (2008) (emphasis in original).

       46.     “Constitutional rights are enshrined with the scope they were understood to have

when the people adopted them, whether or not future legislatures or (yes) even future judges think



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that scope too broad.” Id. at 634–35.

       47.     For this reason, “[j]ust as the First Amendment protects modern forms of

communications, and the Fourth Amendment applies to modern forms of search, the Second

Amendment extends, prima facie, to all instruments that constitute bearable arms, even those that

were not in existence at the time of the founding.” Id. at 582 (citations omitted).

       48.     When the Second Circuit upheld the constitutionality of New York’s laws in

2015, it relied on a two-step test that was “one step too many.” Bruen, 2022 WL 2251305, at *9;

see Cuomo, 804 F.3d at 253. Because the Second Circuit concluded that the so-called “assault

weapons” at issue here are in common use, it should have held that the ban on ownership of such

firearms violates the Second Amendment. Cuomo, 804 F.3d at 254; see Bruen, 2022 WL

2251305, at *9.

       49.     In order to justify a law that affects Plaintiffs’ Second Amendment rights, the

government bears the affirmative burden of proving that the regulation is consistent with our

nation’s history and tradition. Bruen, 2022 WL 2251305, at *9. As a matter of law, any

regulation that bans firearm ownership in common use for lawful purposes like self-defense is

inconsistent with this nation’s history and tradition, and thus violates the Second Amendment. Id.

at 12; Heller, 554 U.S. at 624.

       50.     The firearms at issue in this case are the sorts of bearable arms in common use for

lawful purposes that law-abiding people possess at home by the millions. And they are,

moreover, exactly what they would bring to service in militia duty, should such be necessary.

       51.     In Heller, the Supreme Court held that the Second Amendment “guarantee[s] the

individual right to possess and carry weapons in case of confrontation.” Id. at 592.

       52.     When seconds count, and the police are minutes or hours away, if they come at




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all—they certainly have no obligation to, see, e.g., Town of Castle Rock v. Gonzales, 545 U.S. 748

(2005)—the People have a constitutional right to make use of common firearms for effective self-

defense and not to be disarmed by the enactment and enforcement of the ban.

       53.     Assuming ordinary citizens are not disqualified from exercising Second

Amendment rights, the State must permit them to keep and bear the common firearms banned by

New York for lawful purposes.

       54.     The Second Amendment is an “unqualified command.” Bruen, 2022 WL

2251305, at *11. The Second Amendment does not accommodate the use of any “means-ends

scrutiny” of the kind that the Second Circuit applied when it upheld the constitutionality of New

York’s laws. Id.; Cuomo, 804 F.3d at 253. When a law—like New York’s laws at issue here—

prevents citizens from owning firearms that are in common use for lawful purposes, then the law

violates the Second Amendment. Bruen, 2022 WL 2251305, at *11. It cannot be justified by

reference to any countervailing governmental interest. Id.

       55.     The right to keep and bear common firearms guaranteed under the Bill of Rights

cannot be subjected to laws and regulations that prohibit ordinary, law-abiding citizens from

keeping and bearing common firearms—particularly when such schemes place these citizens under

constant threat of criminal sanction for violating them.

       56.     The enshrinement of the right to keep and bear arms in the Second Amendment has

necessarily taken such “policy choices off the table.” Id. at 636.

       57.     Yet, this is precisely how New York’s semiautomatic firearm ban operates,

completely shutting out ordinary, law-abiding citizens from exercising their rights in New York.

                                          COUNT ONE

    42 U.S.C. § 1983 Action for Deprivation of Plaintiffs’ Rights under the Second and
                Fourteenth Amendments of the United States Constitution



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          58.   Plaintiffs incorporate by reference the foregoing paragraphs as if fully set forth

herein.

          59.   There is an actual and present controversy between the parties.

          60.   The Second and Fourteenth Amendments to the United States Constitution

guarantee ordinary, law-abiding citizens of states their fundamental right to keep and bear arms,

both in the home and in public.

          61.   The keeping and bearing of arms is a fundamental right that is necessary to our

system of ordered liberty, and is additionally a privilege and immunity of citizenship, protected by

the Fourteenth Amendment.

          62.   The right to keep and bear arms includes, but is not limited to, the right of

individuals to acquire, purchase, receive, transport, possess, and lawfully use common firearms for

all lawful purposes, including self-defense.

          63.   New York bans firearms that are commonly used for lawful purposes, grounding

this ban on an arbitrary combination of features that do not make a firearm more powerful or

dangerous. No adequate basis exists to restrict such firearms, which fire only once per trigger pull,

like all other semiautomatic firearms.

          64.   42 U.S.C. § 1983 creates a cause of action against state actors who deprive

individuals of federal constitutional rights under color of state law.

          65.   Defendants, individually and collectively, and under color of state law at all

relevant times, have deprived the fundamental constitutional rights of persons in New York,

including Plaintiffs Vanchoff, Cross, and all similarly situated members of Plaintiff FPC, through

enforcement of the ban.

          66.   For all the reasons asserted herein, Defendants have acted in violation of, and




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continue to act in violation of, 42 U.S.C. § 1983, compelling the relief Plaintiffs seek.

                                     PRAYER FOR RELIEF

       67.     WHEREFORE, Plaintiffs respectfully pray for the following relief:

               a.      A declaratory judgment that Plaintiffs Vanchoff, Cross and all similarly

       situated members of Plaintiff FPC, have a fundamental right to keep and bear arms,

       including by acquiring, purchasing, receiving, transporting, possessing, and lawfully using

       common semiautomatic firearms banned in New York for all lawful purposes including

       self-defense, as guaranteed under the Second and Fourteenth Amendments to the United

       States Constitution;

               b.      A declaratory judgment that New York’s ban on common semiautomatic

       fireams and all related regulations, policies, and/or customs designed to enforce or

       implement the same, prevent Plaintiffs Vanchoff, Cross and all similarly situated members

       of Plaintiff FPC, from exercising their fundamental right to keep and bear arms, including

       by acquiring, purchasing, receiving, transporting, possessing, and lawfully using common

       semiautomatic firearms banned under New York law for all lawful purposes including self-

       defense, as guaranteed under the Second and Fourteenth Amendments to the United States

       Constitution;

               c.      A preliminary and permanent injunction prohibiting each Defendant, and

       Defendants’ respective employees, officers, agents, representatives, and all those acting in

       concert or participation with them, from enforcing New York’s ban on semiautomatic

       firearms and all related regulations, policies, and/or customs designed to enforce or

       implement the same;

               d.      Attorney’s fees, expert fees, and costs pursuant to 42 U.S.C. § 1988, and

       any other applicable law; and,


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                e.   Any and all other and further legal and equitable relief against Defendants

      as necessary to effectuate the Court’s judgment, or as the Court otherwise deems just and

      proper.



      Date: July 11, 2022                           Respectfully submitted,

                                                    /s/ David H. Thompson
                                                    David H. Thompson*
                                                    William V. Bergstrom*
                                                    COOPER & KIRK, PLLC
                                                    1523 New Hampshire Avenue, N.W.
                                                    Washington, D.C. 20036
                                                    Tel: (202) 220-9600
                                                    Fax: (202) 220-9601
                                                    dthompson@cooperkirk.com
                                                    wbergstrom@cooperkirk.com

                                                    *Application for admission pro hac vice
                                                    forthcoming

                                                    Attorneys for Plaintiffs




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